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                                                  STATE OF NEW YORK
                                           OFFICE OF THE ATTORNEY GENERAL
 LETITIA JAMES                                                                                          BARBARA D. UNDERWOOD
ATTORNEY GENERAL                                                                                             SOLICITOR GENERAL
                                                                                                       DIVISION OF APPEALS & OPINIONS


                                                            November 8, 2022

       Catherine O’Hagan Wolfe
       Clerk of the Court
       U.S. Court of Appeals for
        the Second Circuit
       40 Foley Square
       New York, NY 10007

                 Re:    Trump v. James, No. 22-1175

       Dear Ms. Wolfe:

             I write on behalf of defendant-appellee New York Attorney General
       Letitia James, under FRAP 28(j), to update the Court regarding a pertinent
       development since the filing of appellee’s brief.

             As we advised the Court by letter dated September 26, 2022, the New
       York State Office of the Attorney General (“OAG”) filed a civil enforcement
       proceeding on September 21, 2022, in Supreme Court, New York County,
       under New York Executive Law § 63(12), alleging that the Trump
       Organization, Mr. Trump, and others engaged in persistent fraud and illegality
       in business. On November 3, 2022, the state court granted OAG’s motion for a
       preliminary injunction. See Decision & Order on Mot., People ex rel. James v.
       Trump, Index No. 452564/2022 (Sup. Ct. N.Y. County), NYSCEF Doc. No. 183
       (appeal filed Nov. 7, 2022). A copy of the decision is attached.

             The state court found OAG’s uncontested evidence to be “particularly
       compelling” and “more than sufficient to demonstrate OAG’s likelihood of
       success on the merits” of its fraud and illegality claims. Id. at 6, 9. The court
       further concluded that the balance of “equities tips, strongly, if not completely,
       in favor of granting a preliminary injunction, particularly to ensure that

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defendants do not dissipate their assets.” Id. at 9. The court thus prohibited
the defendants from disposing of significant property without advance notice,
and ordered the appointment of an independent monitor to review the
defendants’ financial reporting and potential movement of significant assets,
during the lawsuit. Id. at 10. The monitor will be chosen by the court from
among the parties’ recommendations. Id. at 10-11.

      These developments underscore both the legitimacy of OAG’s
investigation into appellants’ conduct and the propriety of abstaining from
hearing this last-minute collateral attack on that investigation—an attack
which now effectively seeks to enjoin the state court’s injunction. See generally
Sprint Commc’ns, Inc. v. Jacobs, 571 U.S. 69, 79-80 (2013); Diamond “D”
Constr. Corp. v. McGowan, 282 F.3d 191, 199-200 (2d Cir. 2002). OAG is
prepared to answer questions at oral argument about this topic and to submit
supplemental briefing at the Court’s request.


                                     Respectfully submitted,

                                        /s/ Eric Del Pozo
                                     Eric Del Pozo
                                     Assistant Solicitor General


cc:    Counsel of record (by ECF)

enc.




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                          SUPREME COURT OF THE STATE OF NEW YORK
                                    NEW YORK COUNTY
         PRESENT:        HON. ARTHUR F. ENGORON                           PART                                37
                                                               Justice
         ---------'-----------X                                           INDEX NO.            452564/2022
          PEOPLE OF THE STATE OF NEW YORK, BY LETITIA
          JAMES, ATTORNEY GENERAL OF THE STATE OF NEW
                                                                          MOTION DA TE          10/13/2022
          YORK,
                                                                          MOTION SEQ. NO.           001
                                           Plaintiff,

                                     -v-
          DONALD J. TRUMP, DONALD TRUMP JR, ERIC TRUMP,
          IVANKA TRUMP, ALLEN WEISSELBERG, JEFFREY
          MCCONNEY, THE DONALD J. TRUMP REVOCABLE
          TRUST, THE TRUMP ORGANIZATION, INC., TRUMP                         DECISION + ORDER ON
          ORGANIZATION LLC, DJT HOLDINGS LLC, DJT                                  MOTION
          HOLDINGS MANAGING MEMBER, TRUMP ENDEAVOR
          12 LLC, 401 NORTH WABASH VENTURE LLC, TRUMP
          OLD POST OFFICE LLC, 40 WALL STREET LLC, SEVEN
          SPRINGS LLC,

                                           Defendants.



         The following e-filed documents, listed by NYSCEF document number (Motion 001) 37, 38, 39, 40, 41,
         42,43,44,45,46,47,48,49,50,51, 52, 53,54, 55, 56, 57,58, 59,60,61,62,63,64,65,66,67,68,69,
         70, 71, 72, 73, 74, 75, 76, 77, 78, 79, 80,81, 82, 83,84,85,86,87, 88,89, 90, 91,92,93, 94,95,96,97,
         98, 99,100,101,102,103, 104, 105,106,107,108,109,110,111,112, 113, 114,115,116,117,119,
         120,121,124,125,126,127,128,129,130,131,132,133 ,134,135,138,158,159,160,161,162,163,
         164,165,166,167,168,182
                                                                PRELIMINARY INJUNCTION AND
         were read on this motion for a                  APPOINTMENT OF AN INDEPENDENT MONITOR .


         Upon the foregoing documents, and after oral argument held on November 3, 2022, it is hereby
         ordered that plaintiff's motion for a preliminary injunction and appointment of an independent
         monitor is granted as detailed herein.

         Background
         This action arises out of a three-year investigation conducted by plaintiff, the Office of the
         Attorney General of the State of New York ("OAG"), into the business practices of defendants
         from 2011 through 2021. OAG alleges that defendant Donald J. Trump ("Mr. Trump") and the
         other named defendants engaged in ongoing and extensive acts of fraud in the preparation and




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         submission of Mr. Trump's annual Statements of Financial Condition (the "SFCs"), violating
         New York Executive Law§ 63(12) and a multitude of state criminal laws. 1

         OAG commenced this action on September 21, 2022, and service was thereafter effectuated on
         all parties. OAG now moves for a preliminary injunction and the appointment of an independent
         monitor to oversee the submission of certain financial information by defendants pending the
         final disposition of this case. Defendants have not yet answered the complaint, although they
         vigorously oppose OAG's motion.

         New York Executive Law§ 63(12)
         New York Executive Law§ 63, under which OAG brings this action, was enacted specifically to
         outline the "General Duties" of the New York Attorney General. Executive Law§ 63(12) reads
         as follows:

                          Whenever any person shall engage in repeated fraudulent or illegal
                          acts or otherwise demonstrate persistent fraud or illegality in the
                          carrying on, conducting or transaction of business, the attorney
                          general may apply, in the name of the people of the state of New
                          York, to the supreme court of the state ofNew York, on notice of
                          five days, for an order enjoining the continuance of such business
                          activity or of any fraudulent or illegal acts, directing restitution and
                          damages and, in an appropriate case, cancelling any certificate
                          filed under and by virtue of the provisions of section four hundred
                          forty of the former penal law or section one hundred thirty of the
                          general business law, and the court may award the relief applied
                          for or so much thereof as it may deem proper. The word "fraud"
                          or "fraudulent" as used herein shall include any device, scheme or
                          artifice to defraud and any deception, misrepresentation,
                          concealment, suppression, false pretense, false promise or
                          unconscionable contractual provisions. The term "persistent
                          fraud" or "illegality" as used herein shall include continuance or
                          carrying on of any fraudulent or illegal act or conduct. The term
                          "repeated" as used herein shall include repetition of any separate
                          and distinct fraudulent or illegal act, or conduct which affects more
                          than one person. Notwithstanding any law to the contrary, all
                          monies recovered or obtained under this subdivision by a state
                          agency or state official or employee acting in their official capacity
                          shall be subject to subdivision eleven of section four of the state
                          finance law.

                          In connection with any such application, the attorney general is
                          authorized to take proof and make a determination of the relevant

         1
          OAG brings this action exclusively under New York Executive Law§ 63(12) but alleges violations of
         New York Penal Law§ 175.10 (Falsifying Business Records), New York Penal Law 175.45 (Issuing a
         False Financial Statement), and New York Penal Law§ 176.05 (Insurance Fraud) to demonstrate
         defendants' propensity to commit fraud.
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                        facts and to issue subpoenas in accordance with the civil practice
                        law and rules. Such authorization shall not abate or terminate by
                        reason of any action or proceeding brought by the attorney general
                        under this section.

         Legal Standing and Capacity to Sue
         Defendants assert that OAG has neither standing nor legal capacity to bring this action.
         Defendants ~gue that OAG cannot demonstrate standing because it cannot establish an "injury
         in fact-an actual legal stake in the matter being adjudicated." Defendants further argue that
         OAG cannot meet the elements required to bring a parens patriae action to sue in the public
         interest. NYSCEF Doc. No. 126, pg. 9.

         Defendants are mistaken. The Court of Appeals has made clear that "Executive Law§ 63(12) is
         the procedural route by which the Attorney-General may apply to Supreme Court for an order
         enjoining repeated illegal or fraudulent acts." State by Abrams v Ford Motor Co., 74 NY2d 495,
         502 (1989).

         The parens patriae doctrine provides a basis for a State to bring an action against a defendant
         whose conduct has or will impact the health or well-being of the State's citizens. See e.g.,
         Alfred L. Snapp & Son, Inc. v Puerto Rico, ex rel., Barez, 458 US 592, 593 (1982) (to bring
         parens patriae action, Attorney General must identify quasi-sovereign interest in public's well-
         being, that touches substantial segment of population, and articulate "an interest apart from the
         interests of particular private parties"). Although to maintain an action in Federal Court, a state
         Attorney General must demonstrate the prima facie requirements of the parens patrie. doctrine,
         such a demonstration is unnecessary where, as here, the New York legislature has specifically
         empowered the Attorney General to bring such an action in a New York state court. People by
         Schneiderman v Credit Suisse Sec. (USA) LLC, 31 NY3d 622,633 (2018) ("it is undisputed that
         Executive Law§ 63(12) gives the Attorney General standing to redress liabilities recognized
         elsewhere in the law, expanding the scope of available remedies").

          However, in any event, OAG satisfies the parens patrie doctrine by sufficiently articulating a
          quasi-sovereign interest that touches a substantial segment of the population and is distinct from
         the interests of private parties. State ofN.Y. by Abrams v Gen. Motors Corp., 547 F Supp 703,
          705 (SDNY 1982) ("[t]he State's goal of securing an honest marketplace in which to transact a
          business is a quasi-sovereign interest"); People ex rel. Cuomo v Coventry First LLC, 52 AD3d
        · 345, 346 (1st Dep't 2008) ("the claim pursuant to Executive Law§ 63(12) constituted proper
          exercises of the State's regulation of businesses within its borders in the interest of securing an
          honest marketplace"); New York by James v Amazon.com, Inc., 550 F Supp 3d 122, 130-131
          (SDNY 2021) ("[T]he State's statutory interest under§ 63(12) encompasses the prevention of
          either 'fraudulent or illegal' business activities. Misconduct that is illegal for reasons other than
          fraud still implicates the government's interests in guaranteeing a marketplace that adheres to
          standards of fairness ... ").

         Defendants' argument that OAG's complaint is improperly lodged because it is not aimed at
         actions surrounding "consumer protection" is wholly without merit. New York v Feldman, 21 O
         F Supp 2d 294, 299-300 (SDNY 2002) ("[D]efendants' claim that section 63(12) is limited to

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         consumer protection actions is simply incorrect. The New York Attorney General has repeatedly
         used section 63(12) to secure relief for persons who are not consumers in cases that are not
         consumer protection actions") (internal citations omitted).

         Similarly, defendants' contention that OAG does not have capacity to sue because "Executive
         Law § 63(12) does not authorize Plaintiff to commence this type of proceeding" (NYSCEF Doc.
         No. 126, pgs. 19-20) is belied by the plain language of the statute and by prevailing authority.
         Matter of People by Schneiderman v Trump Entrepreneur InitiativeLLC, 137 AD3d 409,417
         (1st Dep't 2016) ("[E]ven apart from prevailing authority, the language of the statute itself
         appears to authorize a cause of action; like similar statutes that authorize causes of action, §
         63(12) defines the fraudulent conduct that it prohibits, authorizes the Attorney General to
         commence an action or proceeding to foreclose that conduct, and specifies the relief, including
         equitable relief, that the Attorney General may seek").

         The Purported Disclaimers
         The defendants further argue that the allegations contained in the complaint are unsustainable
         based on documentary evidence, citing to language that appears at the beginning of each of the
         SFCs. The relevant language was included by Mr. Trump's former accounting firm, Mazars2 ,
         and states, as here pertinent:

                           We have compiled the accompanying statement of financial
                           condition of Donald l Trump as of June 20, 2012. We have not
                           audited or reviewed the accompanying financial statement and,
                           accordingly, do not express an opinion or provide any assurance
                           about whether the financial statement is in accordance with
                           accounting principles generally accepted in the United States of
                           America.

                           Donald J. Trump is responsible for the preparation and fair
                           presentation of the financial statement in accordance with
                           accounting principles generally accepted in the United States of
                           America and for designing, implementing, and maintaining
                           internal control relevant to the preparation and fair presentation of
                           the financial statement.

         NYSCEF Doc. No. 6. Contrary to defendants' assertions, the Mazars disclaimer does not avail
         Mr. Trump at all. First, the disclaimer was issued by Mazars, not by Mr. Trump or any of the
         other named defendants. Second, the Mazars disclaimer makes abundantly clear that Mr. Trump
         was fully responsible for the information contained within the SFCs. SFCs serve an important
         function in the real world; allowing blanket disclaimers to insulate liars from liability would
         completely undercut that function.

         2
           Although Mazars provided the cover letter for Mr. Trump's SFCs for 2011 through 2020 (NYSCEF
         Doc. Nos. 5-14), accountant Whitley Penn LLP provided the cover letter for Mr. Trump's 2021 SFC,
         which contains similar language indicating that it "did not audit or review the financial statement" nor did
         it "perform any procedures to verify the accuracy or completeness of the information provided by the
         Trustee of Donald J. Trump Revocable Trust. .. " NYSCEF Doc. No. 15.
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         Further, the case law cited by defendants arises out of causes of action for justifiable reliance, not
         Executive Law§ 63(12). Nonetheless, "ft]he law is abundantly clear that" using a disclaimer as
         a defense to a justifiable reliance claim requires proof that: "(1) the disclaimer is made
         sufficiently specific to the particular type of fact misrepresented or undisclosed; and (2) the
         alleged misrepresentations or omissions did not concern facts peculiarly within the [defendant's]
         knowledge." Basis Yield Alpha Fund (Master) v Goldman Sachs Grp., Inc., 115 AD3d 128, 136
         (1st Dep't 2014) (holding "a [plaintiff] may not be precluded from claiming reliance on
         misrepresentation of facts peculiarly within the [defendant's] knowledge"). As the SFCs were
         unquestionably based on information peculiarly within defendants' knowledge, defendants may
         not rely on such purported disclaimers as a defense.

         Moreover, the Mazars' language to which defendants refer does nothing to alert its recipients
         that Mr. Trump himself cautions them not to rely on its contents. Joel v Weber, 166 AD2d 130,
         137 (1st Dep't 1991) (denying motion to dismiss based on disclaimer and finding language
         "cannot be classified as a disclaimer, since the wording of the note does not in any manner
         caution [recipient] not to rely upon the financial statement of which it was a part" and "[i]n fact,
         rather than being a disclaimer, we further find that this note conveys the unequivocal impression
         that it is a good faith attempt to approximate current market value").

         Preliminary Injunction
         "A municipality seeking a preliminary injunction to enforce compliance with its ordinances or
         regulations in order to protect the public interest. .. need only demonstrate a likelihood of success
         on the merits and that the equities weigh in its favor." City of New York v Beam Bike Corp.,
         206 AD3d 447, 447-448 (1st Dep't 2022).

         Defendants strenuously argue that OAG's motion should be denied because OAG has failed to
         demonstrate that "the Trump Parties have ever even been late on so much as one loan payment
         over the past decade" such that they could not possibly have engaged in fraud. NYSCEF Doc.
         No. 126, pg. 9. This argument fails, as OAG need not demonstrate irreparable harm when
         seeking a preliminary injunction under Executive Law§ 63(12)--0AG must only demonstrate a
         likelihood of success on the merits and that the balance of equities weighs in its favor. Beam
         Bike Corp., 206 AD3d at 447-448.

         Moreover, as discussed supra, the State's "statutory interest under§ 63(12)" is to protect "the
         government's interests in guaranteeing a marketplace that adheres to standards of fairness."
         Amazon, 550 F Supp 3d at 130. Additionally:

                        Where, as here, there is a claim based on fraudulent activity,
                        disgorgement may be available as an equitable remedy,
                        notwithstanding the absence of loss to individuals or independent
                        claims for restitution. Disgorgement is distinct from the remedy of
                        restitution because it focuses on the gain to the wrongdoer as
                        opposed to the loss to the victim. Thus, disgorgement aims to
                        deter wrongdoing by preventing the wrongdoer from retaining ill-
                        gotten gains from fraudulent conduct. Accordingly, the remedy of
                        disgorgement does not require a showing or allegation of direct

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                           losses to consumers or the public; the source of the ill-gotten
                           games is "immaterial."

         People v Ernst & Young, LLP, 114 AD3d 569, 569-70 (1st Dep't 2014).

         Likelihood of Success on the Merits
         Contrary to defendants' allegations, OAG's motion is not based solely on the "verified
         allegations" set forth in its 222-page complaint. Rather, OAG attaches dozens of exhibits that
         contain documentary evidence not subject to interpretation (i.e., the SFCs speak for themselves)
         that support OAG's contention that it is likely to succeed on the merits. Conversely, defendants
         have failed to submit an iota of evidence, or an affidavit from anyone with personal knowledge,
         rebutting OAG's comprehensive demonstration of persistent fraud.

         Although, for present purposes, the Court need not detail every instance of fraud found in the
         record, the following examples are particularly compelling:

                 Trump Tower Triplex
         Mr. Trump formerly resided in a triplex apartment (the "Triplex") in Manhattan located within
         Trump Tower. It is undisputed that the square footage of the Triplex is 10,996 square feet.
         NYSCEF Doc. No. 49. However, from 2012 until at least 2016, Mr. Trump represented that the
         Triplex was 30,000 square feet. Mr. Trump further used this extreme exaggeration to inflate
         wildly the value of the Triplex on his SFCs for those years. In 2011, Mr. Trump represented that
         the Triplex's value was $80 million, which would have valued the apartment at more than $7,200
         per square foot, when the highest price paid for an apartment in that building was $3,027 per
         square foot. In 2012, Mr. Trump's SFC represented the value of the same apartment as $180
         million. 3

         Over the next four years, Mr. Trump reported massive increases in the value of the Triplex on his
         SFCs, reporting the value of the Triplex as $200 million in 2013 and 2014 and $327 million in
         2015 and 2016. Defendant Allen Weisselberg ("Mr. Weisselberg"), the Trump Organization's
         former Chief Financial Officer, testified under oath that the valuation overstated the apartment's
         value by "give or take" $200 million. NYSCEF Doc. No. 53, pg. 4.

         To the extent that defendants assert that the over-valuation of approximately $200 million was
         not intentional but an inadvertent mistake4, such argument is irrelevant under Executive Law §
         63(12).
                         Good faith or lack of fraudulent intent is not an issue. The
                         definition of 'fraud' as contained in Section 63, subd.12 of the

         3
          As of 2012, the highest price ever paid for an apartment in New York City was $88 million, nearly $100
         million less than Mr. Trump's valuation of his Triplex. NYSCEF Doc. No. I, pg. 85.
         4
          Although intent is not relevant under Executive Law § 63( 12), it belies all common sense to assert that
         Mr. Trump, who resided in the Triplex for over 35 years and who purports to be "one of the top
         businesspeople" was not aware that he was over-representing the size of his home by nearly 200%.
         See Jill Colvin, Associated Press, https://apnews.com/article/north-america-donald-trump-ap-top-news-
         cabinets-maryland-2bb960fda0264c488d454632628cb 193 [last accessed Nov. 3, 2022].
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                           Executive Law is equivalent to that contained in Section 352 of the
                           General Business Law ... which has been construed to include acts
                           which tend to deceive or mislead the public, whether or not they
                           are the product of scienter or an intent to defraud.

         State by Lefkowtiz v Interstate Tractor Trailer Training, Inc., 66 Misc 2d 678, 682 (Sup Ct
         1971).

                 Trump Park A venue Rent-Stabilized Apartments
         Mr. Trump included Trump Park Avenue as an asset on his SFCs for the years 2011 through
         2021. In 2012 the Oxford Group performed an appraisal that identified 12 rent-stabilized
         apartments in the building and assessed their collective value at $750,000, noting that the rent-
         stabilized units "cannot be marketed as individual units" for sale because the "current tenants
         cannot be forced to leave." NYSCEF Doc. No. 61. Notwithstanding 5, Mr. Trump's 2011 and
         2012 SFCs valued the 12 unsold residential units without taking into account the rent-
         stabilization restrictions, reporting their collective value at a staggering $50 million. Mr.
         Trump's own accountant, Donald Bender, testified that he was "shocked by the size of the
         discrepancy" between the appraised value of $750,000 and the self-reported value of $50
         million. NYSCEF Doc. No. 41, pg. 8.

                40 Wall Street
         The Trump Organization, through the entity 40 Wall Street LLC, owns a "ground lease" at 40
         Wall Street. In 2010, non-party Cushman & Wakefield ("C&W") appraised the Trump
         Organization's interest in that ground lease at $200 million. 6 NYSCEF Doc. No. 55, pg. 3.

         Notwithstanding, Mr. Trump listed the value of his interest in 40 Wall Street as $524.7 million
         on his 2011 SFC, $527.2 million on his 2012 SFC, and $530.7 million on his 2013 SFC, more
         than twice the value that C&W reached. Mr. Trump's longtime accountant, Donald Bender,
         testified that it was "misleading" for Mr. Trump not to provide the C& W appraisal to Mazars to
         consider in issuing its SFC, and that ifhe had been aware of it, that could have led to the SFC not
         being issued. NYSCEF Doc. No. 41, pg. 4.

                 Donald Trump Jr.'s Disclaimer of Responsibility for SFCs' Accuracy
         Defendant Donald Trump Jr. is a senior executive at the Trump Organization and a trustee of the
         Donald J. Trump Revocable Trust, which was responsible for certifying the SFCs accuracy to
         banks and other institutions. He personally signed representation letters to Mazars on each
         Statement Engagement while serving as a trustee, and those letters included the representation
         that "[w]e acknowledge our responsibility and have fulfilled our responsibilities for the
         preparation and fair presentation of the personal financial statement in accordance with
         accounting principles generally accepted in the United States of America." NYSCEF Doc. No.

         5
           Although OAG need not prove.intent, there is no doubt that defendants were aware the apartments were
         rent-stabilized, as defendant Donald Trump Jr. testified that the rent-stabilized tenants were "the bane of
         my existence for quite some time." NYSCEF Doc. No. 45, pg. 7.
         6
          OAG alleges many more instances of fraud arising out of defendants' valuation of their interest in 40
         Wall Street. However, for present purposes, the Court need not address each and every one.
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         48. The statement further said that "[w]e have not knowingly withheld from you any financial
         records or related data that in our judgment would be relevant to your compilation." Id.

         Notwithstanding such representations, Donald Trump Jr. testified at his deposition that he had no
         knowledge of Generally Accepted Accounting Principles ("GAAP") outside of "Accounting 101
         at Wharton," and that he "had no knowledge as [GAAP] relates to what it was for, for the
         Statement of Financial Condition or not." NYSCEF Doc. No. 45, pg. 10-11. He further testified
         that despite personally vouching for their accuracy, he "had no real involvement in the
         preparation of the Statement of Financial Condition[s] and don't really remember ever working
         on it with anyone." Id.                                                                  ·

         Accordingly, at a minimum, Donald Trump Jr. signed off on representations to Mazars without
         performing the due diligence necessary to ensure their accuracy or compliance with GAAP,
         raising serious doubt as to the reliability of future SF Cs for which Donald Trump Jr. may be
         responsible. Furthermore, the record is replete with evidence that Donald Trump Jr. 's statement
         that "we" have not knowingly withheld pertinent information is blatantly false.

                  Mar-a-Lago
         In 1995, Mr. Trump signed a Deed of Conservation and Preservation that gave up his rights to
         use the property for any purpose other than as a social club. NYSCEF Doc. No. 64.
         Additionally, in 2002, Mr. Trump signed a Deed of Development Rights conveying to the
         National Trust for Historic Preservation "any and all of [his] rights to develop the Property for
         any usage other than club usage." NYSCEF Doc. No. 65. Despite these prohibitive legal ·
         restrictions, Mr. Trump signed SFCs between 2011 and 2021 valuing the property at between
         $34 7 million and $739 million, based on the false premise that it was an unrestricted plot ofland
         that could be sold and used as a private home, rather than the heavily encumbered historical
         landmark that it was. NSYCEF Doc. Nos. 16-26.

                Zurich Insurance Fraud
         The only method by which defendants disclosed Mr. Trump's SFCs to insurance company
         Zurich North American ("Zurich") was to permit its underwriters to review a copy of the SFCs at
         the Trump Organization's offices, under the watchful gaze of Mr. Weisselberg. While a Zurich
         underwriter was at the Trump offices reviewing such SFCs, Mr. Weisselberg represented to the
         Zurich underwriter that the fair values ofthe properties within the SFCs were determined by
         outside professional firms such as C&W, when, in fact, the Trump Organization itself concocted
         them out of whole cloth. NYSCEF Doc. Nos. 90-92. Zurich's underwriter testified that Mr.
         Weisselberg's representations "weighed favorably" into her recommending that Zurich renew the
         Surety Program. NYSCEF Doc. No. 90, pg. 7.

         Invocation of the Fifth Amendment
         Although not dispositive on any single issue, this Court is permitted, and is here persuaded, to
         draw a negative inference from Mr. Trump's invocation of his Fifth Amendment right against
         self-incrimination more than 400 times in response to questions posed to him during his
         deposition. See El-Dehdan v El-Dehdan, 26 NY3d 19, 37 (2015) ("a negative inference may be
         drawn in the civil context when a party invokes the right against self-incrimination").


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         For example, when asked ifhe knew that each SFC from 2011 through 2021 contained false and
         misleading valuations and statements, Mr. Trump invoked his right against self-incrimination.
         NYSCEF Doc. No. 42, pgs. 10-12. When asked if Mr. Weissselberg, Mr. McConney and others
         worked at his direction and followed his instructions to inflate the asset valuations in the SFCs
         between 2011 and 2021, Mr. Trump invoked his right against self-incrimination. Id.

         Similarly, when Mr. Weisselberg was asked whether Mr. Trump directed him to make any
         changes to the SF Cs between 2011 and 2015, Mr. Weisselberg invoked his right against self-
         incrimination. NYSCEFDoc. No. 44, pgs. 4-8.

         Although the above examples are by no means exhaustive, they are more than sufficient to
         demonstrate OAG's likelihood of success on the merits.

         Balancing of the Equities
         "The balancing of the equities requires the court to determine the relative prejudice to each party
         accruing from a grant or denial of the requested relief." Barbes Rest. Inc. v ASRR Suzer 218,
         LLC, 140 AD3d 430, 432 (1st Dep't 2016).

         Here, the balancing of the equities tips, strongly, if not completely, in favor of granting a
         preliminary injunction, particularly to ensure that defendants do not dissipate their assets or
         transfer them out of this jurisdiction. OAG seeks to enjoin defendants from transferring any
         material asset to a non-party affiliate or otherwise disposing of material assets absent approval of
         this Court. In the event that defendants believe they have a legitimate reason to do so, they may
         apply to this Court for permission.

         In the absence of an injunction, and given defendants' demonstrated propensity to engage in
         persistent fraud, failure to grant such an injunction could result in extreme prejudice to the
         people of New York. Further, the relief sought is appropriately tailored to curbing unlawful
         conduct and ensuring that funds are available for potential disgorgement at the conclusion of this
         case.

         Notably, New York City is the epicenter of global finance. To take an example close to home,
         Deutsche Bank, headquartered in Germany, lent hundreds of millions of dollars to a New York
         real estate conglomerate that owns properties all over the world. New Yorkers derive enormous
         economic and other benefits from all the money coursing through the veins of Wall Street and
         real estate. Our executive, legislative, and judicial institutions are obligated to ensure that
         financial transactions are conducted truthfully, not fraudulently.

         Appointment of an· Independent Monitor
         Defendants' opposition conflates the appointment of an "independent monitor" with that of a
         "receiver," when, in fact, they perform two very different functions: the former oversees, the
         latter controls.

         In its motion, OAG asks for the appointment of an independent monitor to oversee the: (1)
         submission of financial information provided to any accounting firm compiling a 2022 SFC for
         Mr. Trump; (2) submission of all financial disclosures to lenders and insurers; and (3) corporate

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         restructuring or disposition of significant assets. This limited function is entirely different from
         the functions of a receiver, who would, in effect, take control of the entire organization. CPLR
         5228. Accordingly, defendants' claims that this amounts to a "nationalization" of the Trump
         Organization are entirely without merit.

         Furthermore, given the persistent misrepresentations th}7oughout every one of Mr. Trump's SFCs
         between 2011 and 2021, this Court finds that the appointment of an independent monitor is the
         most prudent and narrowly tailored mechanism to ensure there is no further fraud or illegality
         that violates§ 63(12) pending the final disposition of this action.

         The Court has considered defendants' other arguments and finds them unavailing and/or non-
         dispositive.

         Conclusion
         Thus, for the reasons set forth herein, OAG's motion for a preliminary injunction and
         appointment of an independent monitor is granted; and

         Defendants are hereby preliminary enjoined from selling, transferring, or otherwise disposing of
         any non-cash asset listed on the 2021 Statement of Financial Condition of Donald J. Trump,
         without first providing 14 days written notice to OAG and this Court; and

         This Court will appoint an independent monitor, to be paid by defendants, for the purpose of
         ensuring compliance with this order. If the monitor reasonably determines that defendants have
         violated this order, the monitor shall immediately report that matter to OAG, defendants, and this
         Court; and

         Defendants are hereby ordered to provide the monitor any financial statement, statement of
         financial condition, other asset valuation disclosure, or other financial disclosure to a lender,
         insurer, or other financial institution, any non-privileged document, book, record, or other
         information bearing on any of the foregoing or reasonably necessary to assess the accuracy of
         any representation, and to comply with all reasonable requests by the monitor for such
         information; and

         Defendants are hereby ordered to provide the monitor with a full and accurate description of the
         structure and liquid and illiquid holdings and assets of the Trump Organization, its subsidiaries,
         and all other affiliates, no later than two weeks after the monitor's appointment; and

         Defendants are hereby ordered to provide the monitor, at least 30 days in advance, information
         regarding any planned or anticipated restructuring of the Trump Organization, its subsidiaries,
         and all other affiliates, or of any plans for disposing or refinancing of significant Trump
         Organization assets, or disposing significant liquidity; and

         This Court will appoint an independent monitor from names recommended by OAG and
         defendants, who shall have until November 10, 2022 to identify no more than three potential
         monitors for the Court's consideration. The parties shall have until November 15, 2022 to


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         comment, if they so choose, on their adversaries' selections. Once a monitor is appointed by this
         Court, the monitor shall remain in place until further order of this Court; and

         This order binds defendants and all other persons or entities acting in concert with them, or under
         their direction or control, directly or indirectly, including defendants' officers, employees,
         representatives, servants, or other agents, and including the Donald J. Trump Revocable Trust
         through any of its trustees; and

         The parties are hereby ordered to appear in person for a preliminary conference on November 22,
         2022 at 10:00 am at 60 Centre Street, New York, New York, Courtroom 418.




                 11/3/2022
                   DATE                                                    ARTHUR F. ENGORON, J.S.C.
          CHECK ONE:                  CASE DISPOSED                   NON-FINAL DISPOSITION

                                      GRANTED         □   DENIED      GRANTED IN PART         □   OTHER
          APPLICATION:                SETTLE ORDER                    SUBMIT ORDER

          CHECK IF APPROPRIATE:       INCLUDES TRANSFER/REASSIGN      FIDUCIARY APPOINTMENT   □   REFERENCE




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